     Case 1:14-cr-00048-LJO-SKO Document 32 Filed 06/13/14 Page 1 of 2

                                                                               (SPACE BELOW FOR FILING STAMP ONLY)
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 4

 5
     ATTORNEYS FOR Defendant,
 6                   ERIK GESUS RIVERA

 7

 8                                UNITED STATES DISTRICT COUNT
 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          Case No: 1:14-CR-00048–LJO SKO
11
                    Plaintiffs,
12                                                             WAIVER OF APPEARANCE
13          v.                                                         AND
                                                                      ORDER
14   ERIK GESUS RIVERA,

15                  Defendants.

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17   TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S
18          OFFICE and/or ITS REPRESENTATIVES:
19
            Defendant, ERIK GESUS RIVERA, by and through her attorney MARK W.
20
     COLEMAN, of NUTTALL & COLEMAN, hereby applies to this court for an Order waiving
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     his appearance at the Status Conference currently set for June 16, 2014 at 1:00 p.m., before
22
     Magistrate Judge Sheila K. Oberto.
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            The reason for this request is that Mr. Rivera lives in San Bernardino, California.
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     Counsel has received discovery in this case and counsel for defendant is still reviewing the
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     discovery. It is not anticipated that anything dispositive will occur on June 16, 2014.
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     Case 1:14-cr-00048-LJO-SKO Document 32 Filed 06/13/14 Page 2 of 2


 1          Mr. Rivera has been in continued contact with his attorney, and gives his attorney full

 2   power to act on his behalf. The matter of the Status Conference has been discussed and Mr.
 3   Rivera is satisfied that all relative matters have been adequately discussed.
 4          It is hereby requested that Erik Rivera’s appearance at the hearing on June 16, 2014, at
 5
     1:00 p.m. be excused.
 6
     DATED: June 12, 2014.                 Respectfully submitted,
 7
                                           NUTTALL & COLEMAN
 8
                                           /s/ MARK W. COLEMAN
 9
                                           MARK W. COLEMAN
10                                         Attorney for Defendant,
                                           ERIK GESUS RIVERA
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12
                                                 ******
13
                                                  ORDER
14
            GOOD CAUSE APPEARING,
15
            IT IS HEREBY ORDERED that Defendant, Erik Rivera, is excused from appearing at
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     the Status Conference currently scheduled for June 16, 2014, at 1:00 p.m.
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     IT IS SO ORDERED.
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20      Dated:     June 13, 2014                                  /s/ Sheila K. Oberto
                                                          UNITED STATES MAGISTRATE JUDGE
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